
The People of the State of New York, Respondent, 
againstWilliam Norwood, Appellant.



Appeal from a judgment of the Criminal Court of the City of New York, Kings County (Michael Gerstein, J.), rendered August 9, 2012. The judgment convicted defendant, upon his plea of guilty, of disorderly conduct. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]), in which he seeks leave to withdraw as counsel.




ORDERED that the judgment of conviction is affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders v California (386 US 738), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
Solomon, J.P., Weston and Elliot, JJ., concur.
Decision Date: April 07, 2016










